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AttorneyS-for Plaintiff

Lester Hayes,

V.

Wright Medical Technology, Inc., a

UNITED STATES DISTRICT COURT

SoUTHERN DISTRICT oF CALIFORNIA

Plaintiff,

Delawar‘e corporation

Defendant:.

 

 

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CASE NO. 3:16-CV-01072-CAB-WVG

]udge: Hon. Cathy Ann Bencivengo
Dept.: Courtroom F

Plaintiff‘s Opposition to Defendant’s
Motion for Partial Dismissal

 

 

P]aintiff'S Opposition to Defendant's Motion for Partia] Dismissal

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Plaintiff Lester Hayes respectfully submits his opposition to defendant
Wright Meclical Technology, Inc,’s motion for dismissal of plaintiffs first, fifth,
sixth, seventh, and eight causes of action and plaintiffs prayer for exemplary
damages. Plaintiff does not oppose dismissal of his fifth cause of action for breach
of implied Warranty but opposes the balance of defendant’s motion.-

INTRoDUchoN

Wright’s motion should, with one exception, be denied. Mr. Hayes's
complaint contains sufficient factual allegations to support his first cause of
action for strict product liability based on manufacturing defect. His complaint
also has specific factual allegations that surmount the particularity requirement
of Federal Rule of Civil Procedure 9[b], so his fraud-related claims--his sixth
cause of action for fraudulent misrepresentation and his seventh cause of action
for fraudulent concealment-defeat dismissal l\/lr. Hayes’s eighth Cause of action
for negligent misrepresentation is not “sounded” in fraud and therefore should
be evaluated under the more permissive Rule 8 standard. See Petersen v. Allstate
Indem. (.`0., 281 F.R.D. 413, 418 [C.D. Cal. 2012]. But even if the allegations
supporting negligent misrepresentation are evaluated under Rule 9[b], 1\/1r.
Hayes has adequately pled specific facts to support his negligent
misrepresentation claim. Because plaintiffs fraud-related claims survive,
plaintiffs prayer for exemplary damages should stand, as California law
expressly authorizes exemplary damages in such cases.

FACTUAL BACKGROUND

Plaintiff Lester Hayes underwent a total hip arthroplasty on his left hip on
Decemb'er 11, 2007. Defendant Wright manufactured the Profemur modular neck
involved in that hip implant surgery. On june 3,.2015, While he Was putting on his
shoes, Mr. Hayes’s hip device suddenly broke into pieces and he had to be rushed
to the emergency room. The failed device Was removed the following day in a

painful surgical procedure commonly referred to as a “revision."

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ARGLIMENT

1. Standard of review

When ruling on a motion to dismiss, a court must accept as true all material
allegations in the challenged pleading, as well as all reasonable inferences that
can be drawn therefrom. Pareto v. FDIC, 139 F.3d 696, 699 (9th Cir. 1998]. The
complaint must be read in the light most favorable to the nonmoving party, and
dismissal is proper only ifthere is "a ‘lacl< of a cognizable legal theory or the
absence of sufficient facts alleged under a cognizable legal theory."’ Conservation
Force v, .S`alazar, 646 F.3d 1240, 1242 [9th Cir. 2011] [quoting Balistreri v.

Pacifica Poli'ce Dep't, 901 F.Zd 696, 699 (9th Cir.19'88].

2. Plaintiff’s first cause of action for strict products liability is

adequately pled
Because lVIr. Hayes has specifically pled how the particular device he

received deviated from defendant's intended design, the motion to dismiss the
cause of action for strict products liability based on manufacturing defect must
be denied. "A manufacturing defect exists When an item is produced in a
substandard condition." McCabe v. Am. Honda Motor Co., 100 Cal. App. 4th 1111,
1120 [2002]. To adequately plead a manufacturing defect claim, plaintiff must
state how the product in question deviated from the manufacturers intended
result. Wright Motion for Partial Dismissal, pp. 3-4, ECF Docket No. 9; Lucas v.
Cily ofl/asilia, 726 F. Supp. 2d 1149, 1155 (E.D. Cal. 2010] [plaintiff must allege
“how the [product] either deviated from [the manufacturer’s] intended
result/ design or how the [product] deviated from other seemingly identical
models); Barker v. Lill Engineering Co., 20 Cal.3d 413, 429 [1978].

lVIr. Hayes has done that here. In his complaint, he alleged that his device
deviated from defendants intended design or result, or other seemingly identical
products by having “an unreasonably high propensity for corrosion, fretting, and

fatigue under normal and expected use of the device, leading to fracture of the

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Plaintiff’s Opposition to Defendant’s Motion for Parl:ial Dismissai

 

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modular neck and Catastrophic failure of the device, requiring revision surgery."
Complaint, 11 89,7 ECF Doc. No. 1. This is a clear statement of how the device in
question differed because it Was defectively manufactured See Lucas, supra, 726
F. Supp. 2d 1149, 1155. That a few other paragraphs in plaintiffs complaint
discussed the product’s design does not erase the factual allegations pertaining

to plaintiffs manufacturing defect claim.

3. Plaintiff’s sixth. seventh. and eighth causes of action are pled With
sufficignt particularity

Defendant primarily challenges plaintiffs fraud-related claims, arguing
they do not meet the heightened pleading requirements imposed by Rule 9[b].
This is not true. Plaintiffs complaint provides ample factual basis as judged
under Rule 9[b] for his fraud claims [his sixth and seventh causes of action), as
well as for his eighth cause of action for negligent misrepresentation, though that
claim should be judged under the more permissive Rule 8 standard. Because
plaintiffs Complaint contains factual allegations that satisfy the requirements
under Rule 9[b], defendant’s motion to dismiss should be denied as to plaintiffs
sixth, seventh, and eighth causes of action.

A. Rule 9(b] particularity

A pleading is sufficient under Rule 9[‘0] if it “[identifies] the circumstances
constituting fraud so that the defendant can prepare an adequate answer from
the allegations." 111/ailing v. Beverly Enters., 476 F.Zd 393, 397 [9th Cir. 1973].
Ordinarily, this requires the plaintiff to "identify the ‘Who, What, when, where and
how ofthe misconduct charged,' as well as 'What is false or misleading about [the
purportedly fraudulent conduct]’, and Why it is false.” Cafasso, ex rel. Um'ted
States v. Gen. Dynamics 64 Sys., Inc., 637 F.3d 1047, 1055 [9th Cir. 2011] (quoting
Ebei'd ex rel. Um'ted States v. Lungwi'tz, 616 F.3d 993, 998 [9th Cir. 2010]].

While fraud claims are generally held to a higher standard under Rule 9(b],

the level of specificity required depends on the nature ofthe claim. When a claim

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Plaintiff‘s Opposition to Defendant's Motion for Partia] Dismissal

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primarily relies on “acts" of omission, the level of specificity required is relaxed.
Falk v. General Motors Corp., 496 F. Supp. 2d 1088, 1099 (N.D. Cai. 2007] [“[A]
fraud by omission claim can succeed without the same level of specificity
required by a normal fraud claim."]
B. Plaintiffs causes of action for fraudulent misrepresentation and
fraudulent concealment are pled With sufficient particularity
l\/[r. Hayes’s complaint contains sufficient factual details about Wright's
fraudulent misrepresentation and concealment to defeat Defendant’s motion.
The elements of fraudulent misrepresentation are: (1] misrepresentation; [2]
knowledge of falsity; [3] intent to defraud or to induce reliance; (4] justifiable
reliance; and [5] resulting damage Engalla v. Permanen te Med. Grp., lnc., 15
Cal.4th 951, 974 (1997). A plaintiff must “establish a complete causal
relationship between the alleged misrepresentations and the harm claimed to
have resulted” to adequately plead reliance [Mirkin v. Wusserman, 5 Cal.4th 1082,
1092 [1993]], and actual reliance exists when it appears, to a reasonable
probability, the plaintiff would not have entered the transaction absent the
representation Cadlo v. OWens-Illinois, Inc., 125 Cal. App. 4th 513, 519 [2004].
The elements for fraudulent concealment are logically similar to those for
fraudulent misrepresentation: [1] the defendant concealed a material fact; (2]
the defendant had a duty to disclose the fact to plaintiff; [3] the defendant
intentionally concealed the fact with the intent to defraud; [4»] the plaintiff must
have been unaware of the fact and would have acted differently had he known
the fact; and [5] resulting damages Boschmu v. Home Locm Center, Inc., 198
cal.App.ath 230, 248 (2011].
Defendant takes issue with the level of specificity with Which those
elements are pled, in particular reliance, choosing Certain excerpts to paint a
picture of a very conclusory complaint But defendant cannot pick and choose

Which allegations in the complaint to give credence to, and plaintiffs complaint

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contains a number of specific allegations that support his claims for fraudulent
misrepresentation and concealment For example, paragraph 20 of the Complaint,
one of the paragraphs containing phrases challenged by defendant actually
includes a number of specific details as to the “Who, What, when” of the alleged
fraud:

In various marketing and promotional material ublished and
distributed b Wri ht from approximately the year 002, and into
the year 200 , an available to Wright's sales representatives and
distributors surgeons, patients, and the general public, Wright
made the followin re resentations, statements, claims, and
guarantees about its ro emur modular necks:

The modular neck used with the Profemur Hip has been
emplo ed by Wright Cremascoli for over 15 years. The necks
were esi§ned in 1985 and have been successfully impla_n_ted
in over 5 ,000 patients requiring both primary and revlslon
hip procedures. he necks are used in other Wri ht Cremascoli
hip systems besides the Profemur Hip. None o the necks has

experienced a clinical failure since their inception.

and,

The modular neck system, designed by Cremascoli in 1985
[U.S. Patent #4,957,510], has now been successfully implanted
in over 50,000 patients re uiring both primary and revislon
hip arthroplasty. Extensive aboratory tests have proven that
the coupling between the modular neck and femoral implant
guarantees:

~ Structural reliability _
A :)sence of signlflcant mic romovement

~ §§sence of fretting corros g
[Wright l\/Iedical Technical l\/lonograph MH688-102 ©2004]

 

 

This particular paragraph provides a copyright citation to one specific source of
alleged material misrepresentations and highlights the particularly fraudulent
portions. Plaintiff could hardly plead a misrepresentation With more specificity.
Looking at the elements more broadly, Plaintiff has adequately pled all
elements of his sixth and seventh causes of action. Plaintiff alleges Wright failed
to inform its Profemur patients of certain risks by omitting specific material facts,
including: [1] the higher than anticipated rate of failure of the device; [2) reports

of fractures of other implanted Profemur devices; [3] that failures of Profemur

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are known to be associated with higher impact activities and heavier patients,l
and that failures of Profemur are known to be associated with normal daily
activities Complaint, ‘|l‘|l 36~45, 66, ECF Doc. No. 1. Wright made affirmative
misrepresentations about and/ or concealed these specific facts about the
Profemur modular neck despite its knowledge to the contrary. Complaint, ‘|l‘|l 50-

54. Further, “Plaintiff and Plaintiffs healthcare providers relied upon Defendants'

incomplete and inaccurate representations as to the safety and performance of

the [Profemur] when selecting, recommending and implanting the [Profemur]”
and “Plaintiff and Plaintiffs healthcare providers were unaware of the falsity of
said representations and reasonably believed them to be true." Complaint, ‘[[‘|l
125, 141. Put another way, but for Wright’s misrepresentation and /or
concealment plaintiff and his doctors would not have selected the Profemur
modular neck. Plaintiff has adequately pled all elements of his fraud claims,
including reliance, by showing a causal connection between the alleged fraud and
harm suffered. See Mirkl`n, Supra, 5 Cal.4th at 1092.

Plaintiffs Complaint contains a number of specific factual allegations
relating to fraud, answering the key questions as required under Rule 9[b]. See
Cafasso, supra, 637 F.3d 1047, 1055. Because plaintiff has pled with sufficient
particularity all elements of fraudulent misrepresentation and fraudulent
concealment defendant's motion to dismiss should be denied as to plaintiffs
sixth and seventh causes of action.

C. Plaintiffs eighth cause of action for negligent misrepresentation is

not sounded in fraud and should be evaluated under Rule 8

Rule 9[b] applies not only where fraud is an essential element of a claim,
but also where the claim is "sounded" or “grounded” in fraud. Vess v.`Ciba-Geigy
Corp., U..S'.A., 317 F.3d 1097, 1103-1104 [9th Cir. 2003]. A Clairn is considered
grounded” or sounded in fraud where plaintiff alleges defendant engaged in

fraudulent conduct and relies solely on that conduct to prove that claim. lhid. The

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Plaintiffs Opposition to Defendant’s Motion for Partial Dismissal

 

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Ninth Circuit has not yet opined on whether negligent misrepresentation claims
must be evaluated under Rule 9[b]’s heightened requirements, and there`is

disagreement among the district courts. See e.g., Green v. Cent. Mortgage Co., 148

' F. Supp. 3d 852 [N.D. Cal. 2015] (Rule 9(b) applies to negligent

misrepresentation claims]; Petersen v. /-lllstate Indem. Co., 281 F.R.D. 413, 418
[C.D. Cal. 2012] [“[B]ecause an allegation of negligent misrepresentation suggests
only that the defendant failed to use reasonable care_an objective standard-it
does not result in the kind of ‘harm’ that Rule 9[b] was designed to prevent.”].

The reasoning in Petersen is sound. Plaintiffs negligent misrepresentation
cause of action asserts Wright breached its duty to truthfully represent its
product to the medical duty, the public, and plaintiff according to an objectively
reasonable standard. Plaintiffs negligent misrepresentation cause of action
should be evaluated under Rule 8.

D. Regardless of whether Rule 8 or Rule 9[b] provides the standard,
plaintiff has sufficiently pled his negligent misrepresentation claim
Whether Rule 8 or Rule 9[b] provides the standard against which plaintiffs

allegations supporting his negligent misrepresentation claim must be judged, the
complaint contains more than sufficient specific factual allegations to defeat
defendant's motion to dismiss. Neglige-nt misrepresentation has essentially the
same elements as fraudulent misrepresentation except a plaintiff need not show
the defendant knew of the falsity of the statement but rather that the defendant
lacked any reasonable grounds for believing the statement to be true. Charney v.
Cobert,145 Cal.App.4th 170, 184 [2006]. As discussed more fully above,
plaintiffs complaint contains specific factual allegations sufficient to meet Rule
9[b]’s heightened pleading standard as to plaintiffs claim for fraudulent
misrepresentation See Complaint, ‘[1‘11 20, 36-45, 66, 125, ECF Doc. No. 1. Because
plaintiff has sufficient factual allegations supporting a claim evaluated under the

higher standard of Rule 9(b], plaintiffs factually similar claim for negligent

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Plaintiffs Opposition to Defendant’s Motion for Partial Dismissal

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misrepresentation must also defeat dismissal regardless of which standard it is
evaluated under.
E. Defendant’s “fraud on the FDA" argument is irrelevant

Wright offers an additional basis for dismissing plaintiffs sixth through
eighth causes of action arguing plaintiff in effect alleges fraud on the FDA. Wright
Partial Motion to Dismiss, pp. 14-15, ECF Doc. No. 9. According'to defendant
plaintiff is trying to assert an impermissible claim for fraud on the agency
couched within his fraud-related causes of action. Relying largely on Buckman Co.
v. Plaintijj"s Legal Comm., 531 U.S. 341 (2001], Wright claims “Plaintiffs fraud~
based claims must be dismissed because they are preempted by federal law."
Wright Motion, p. 15, ECF Doc. No. 9.

In reality, the complaint as written does not allege fraud on the FDA, but
rather fraud on plaintiff fraud on his physicians, and fraud on the medical
community. Allegations related to Wright misleading the FDA serve to illustrate
the depths of Wright’s false, deceptive, and fraudulent marketing Nothing in the
Buckman case precludes plaintiff from doing so. Were defendant’s reading to
hold, plaintiffs claims would be defeated because they mentioned the FDA, even
if the claims were otherwise legally sound. In fact later decisions have rejected
the same argument Wright now asserts. See e.g., Globetti v. Sandoz Pharrn. Corp.
No. 98-2649, 2001 U.'S. Dist. LEXIS 2391, *8 [N.D. Ala. lVIar. 5, 2001] ("[w]hile
plaintiff may not offer evidence simply to show misrepresentations to or
concealment from the FDA, such evidence may be relevant to showing the
defendant’s knowledge relating to the adequacy of the warning or the truth of
information represented to or concealed from plaintiff or her physician."];
Bouchard v. American Home Products Corp., 213 F. Supp. 2d 802, 812 [N.D. Ohio
2002] [If [plaintiffs] claims are based on direct fraud against her and her
healthcare provider, rather than the FDA, then her claims are not preempted, and

evidence concerning what information was and was not provided to the FDA

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Plaintiffs Opposition to Defendant’s Motion for Partial Dismissal

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might still be relevant.”].

Defendant’s preemption argument is misplaced. Plaintiffs allegations are
not premised upon a “fraud on the FDA" and, therefore, are not preempted by
federal law.

4. Plaintiffs prayer for punitive damages must survive as plaintiffs
fraud claims defeat dismissal

As correctly explained by defendant because this case is before the court
based on diversity jurisdiction California law governs plaintiffs prayer for
exemplary damages and California law specifically authorizes such damages
where there is “oppression,fraud, or malice.” Cal. Civ. Code § 3294 [italics
added]; see e.g., Gelow v. Cent. Pac. Mortgage Corp., 656 F. Supp. 2d 1217, 1234
[E.D. Cal. 2009] [Under California law, “[t]here is no bar to awarding punitive
damages for fraud when the underlying tort is fraud.”]; Miller v. Nat'lAm. Li'fe Ins.
Co., 54 Cal. App. 3d 331, 336, 126 Cal. Rptr. 731, 733 (Ct. App. 1976] ["[P]roof of
the cause of action for fraud is itself an adequate basis for awarding punitive
damages.”]

As explained above, plaintiff has adequately pled his fraud-related claimsl
Defendant’s reference to “clear and convincing evidence" is inapposite at the
pleading stage, as plaintiff has sufficiently alleged fraud. Defendant’s lengthy
explanations pertaining to malice and oppression are similarly extraneous See
e.g., GIovatorium, Inc. v. NCR Corp., 684 F.2d 658, 663 [9th Cir. 1982] ["There is no
requirement under Cal. Civil Code § 3294 that malice, reprehensible or
outrageous conduct or willful disregard be shown in addition to the fraud.”].

Because of this, plaintiffs prayer for exemplary damages should stand.

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Plaintiffs Opposition to Defendant’s Motion for Partial Dismissal

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CoNcLUsloN
Wright’s partial motion to dismiss should be denied based on the
foregoing, with the exception of plaintiffs conceded fifth cause of action for

breach of implied warranty.

Dated: ]uly 7, 2016 CASEY GERRY SCHENK
FRANCAVILLA BLATT 82 PENFIELD. LLP

By: s/Wendy M. Behan
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Plaintiffs Opposition to Defendant’s Motion for Partial Dismissal

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1 PROOF OF SERVICE
2 JUDGE: Hon. Cathy Ann Bencivengo

3 Ha§)es v. Wright Medi'ccil Technoloigy, Irzc., et al.
U. .D.C. Southern District of Cali ornia Case No. 16-CV-1072-CAB-WVC

l the_undersigned, declare: Tliat l am, and Was at the time of service of the _
5 papers herein referred to, over the a e of eighteen years, and not a party to the action;
and 1 am em loyed m the County _o San Die§o, California l\/Iy business address is

6 110 Laurel treet, San Diego, California 921 1.

7 _Ori Jul 7, 2016 at Saii Die o California l served the followin document(gsl?{
described as LAIN'riFF’s oPP sirioN_ro i)EFENDANT’s ivfo'rioN F
s PARTIAL DISMISSAL on the parties in said action as follows:

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ELECTRONIC TRANSMISSION: l filed the fore oin document With the
ll Clerk of Court for the U.S.D.C. Southern District of ali ornia, using the

 

Electronic Case Filing ("ECF") s stern of the Court. The attorney listed above

12 has consented to receive service y electronic means and is re istered With the

13 system.

Court‘s ECF system and Was served a "Notice of Electroiiic Fi ing" sent by ECF

14 FEDERAL COURT: 1 declare under penalty of perjury under the laws of the

United States of` America that the fore om is true and correct and that'l am
15 employed in the office of a member o the ar of this Court at Whose direction

the service Was made.
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17 Executed on July 7, 2016, at San Diego, California.
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Proof of Service

